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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS

NAVY SEALs 1-3, et al.,

                               Plaintiffs,
                                                             Case No. 4:21-cv-01236-O
       v.

LLOYD J. AUSTIN, III in his official capacity as
United States Secretary of Defense, et al.,

                               Defendants.


               DEFENDANTS’ RESPONSE TO THE JULY 10, 2023 ORDER

       Defendants respectfully submit this response to the Court’s July 10, 2023 Order, directing the

parties to “submit their respective positions on the timing of supplemental briefing.” See ECF No.

245. Defendants take no position and have no objection to Plaintiffs’ proposed approach of waiting

for issuance of the mandate to proceed with supplemental briefing. Defendants’ counsel are available

to confer with Plaintiffs to discuss a briefing schedule at that time. If briefing proceeds now,

Defendants request three weeks to file supplemental briefs regarding the impact of the Fifth Circuit

decision in light of counsel’s schedule and the press of other business.

Dated: July 11, 2023                           Respectfully submitted,

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